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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                   No. 2:08-cr-0212 LKK EFB P

12           vs.

13   MICHAEL R. EPPS, JR.,

14                  Movant.                       ORDER

15                                          /

16                  Movant, a federal prisoner proceeding pro se, has filed a motion for a writ of error

17   coram nobis pursuant to 28 U.S.C. § 1651. The matter was referred to a United States

18   Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

19                  On January 16, 2013, the magistrate judge filed findings and recommendations

20   herein which were served on all parties and which contained notice to all parties that any

21   objections to the findings and recommendations were to be filed within twenty-one days.

22   Neither party has filed objections to the findings and recommendations.

23                  The court has reviewed the file and finds the findings and recommendations to be

24   supported by the record and by the magistrate judge’s analysis. Accordingly, IT IS HEREBY

25   ORDERED that:

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 1               1. The findings and recommendations filed January 16, 2013, are adopted in full;

 2               2. Respondent’s motion to dismiss, Dckt, No. 459, is granted; and

 3               3. The Clerk of the Court be directed to close the companion civil case No. Civ.

 4   S-10-cv-0327 LKK EFB.

 5   DATED: April 9, 2013.

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